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                          Jose A. Aguiar
                          First Name

' Debtor 2
I(Spouse if, filing)

 United States Bankruptcy Court forthe:             DISTRICT OF MASSACHUSETTS

 Case number           18-30830
 (if knov*i)                                                                                                                 •   Check if this Is an
                                                                                                                                 amended filing




Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15
if you are an individual filing under chapter 7, you must fill out this form if:
• creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
               on the form


If twomarried people are filing together In a jointcase, both are equally responsible forsupplying correct information. Both debtors must
               sign and date the form.

Be as complete and accurate as possible. Ifmorespace is needed,attach a separate sheet to this form. Onthe top of any additional pages,
               write your name and case number (If known).

                 List Your Creditors Who Have Secured Claims

1. For any creditors thatyou listed In Part 1 of Schedule D: Creditors Who Have Claims Secured byProperty (Official Form 106D), fill inthe
    Information below.
     Identify thecreditor andthe property thatis collateral             What do youIntend to do with the property that       Did ybu claim the property
                                                                        secures a debt?                                      as exempton Schedule^



     Creditor's        Doherty Wallace Plilsbury &                      • Surrender the property.
     name:             Murphy, P.C.                                     G Retain the property and redeem it.

                                                                        G Retain the propertyand enter intoa
     Description of       Doherty, Wallace, Plllsubury                      Reaffirmation Agreement.
     property             and Murphy, P.C.                              B Retain the property and [explain]:
     securing debt:                                                      Retain and pay pursuant to agreement



     Creditor's        Luso Federal Credit Union                        G Surrender the property.
                                                                        G Retain the propertyand redeem it.
                                                                        G Retain the propertyand enter intoa                 • Yes
      Description of      7 Danforth Farm Road                              Reaffirmation Agreement.
      property            Wllbraham, MA 01095                           • Retain the property and [explain]:
     securing debt: Hampden County                                        Retain and pay pursuant to agreement

          I I I Mnil Unexpir^Personal Property Leases
For any unexplred personal property lease that you listed In Schedule G: ExecutoryContracts and Unexplred Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexplred leases are leases that are still In effect; the lease period has not yet ended.
You may assume an unexplred personal property lease Ifthe trustee does not assume it. 11 U.S.C. § 365(p)(2).

  Describe your unexplred personal property leases                                                                       Will the lease be assumed?



Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7

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Debtor 1      Jose A. Aguiar                                                                        Case number (cTAnown)       18-30830




Lessor's name:                                                                                                              •    No
Description of leased
Property:                                                                                                                   •    Yes

Lessor's name;                                                                                                              •    No
Description of leased
Property:                                                                                                                   •    Yes

Lessor's name:                                                                                                              •     No
Description of leased
Property:                                                                                                                   •    Yes

Lessor's name:                                                                                                              •     No
Description of leased
Property:                                                                                                                   •    Yes

Lessor's name:                                                                                                              •     No
Description of leased
Property:                                                                                                                   •    Yes


Lessor's name;                                                                                                              •     No
Description of leased
Property:                                                                                                                   •     Yes


Lessor's name:                                                                                                              •     No
Description of leased
Property:                                                                                                                   •     Yes




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Debtor 1 Jose A. Aguiar                                                                             Casenumber (flTAnow/i) 18-30830




             Sign Below

Under penalty of perjury, Ideclarethat I haveIndicated my Intention aboutany property of myestate that secures a debt and any personal
property that Is subject to an unexplred lease.

X     /s/ Jose A. Aguiar
      Jose A.Aguiar                                                                    Signature of Debtor 2
      Signature of Debtor 1

      Date        June 10.2019                                                     Date




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